Case:18-01254-EAG13 Doc#:57 Filed:08/08/18 Entered:08/08/18 16:20:17               Desc: Main
                           Document Page 1 of 2


                      IN THE UNITED STATES BANRUPTCY COURT
                         FOR THE DISTRICT OF PUERTO RICO


    IN RE. :                                     *      CASE NO.: 18-01254-EAG
    ELBLA IRIZARRY CASTRO                        *
    SS.XXX-XX- 2462                              *
    Debtor                                       *      CHAPTER 13



       ANSWER TO MOTION TO ALLOW CLAIM AFTER CLAIMS BAR DATE



    TO THE HONORABLE COURT:



    Here comes now Debtor ELBLA IRIZARRY CASTRO (“THE DEBTOR”) through

    the undersigned attorney and very respectfully shows and prays as follows:



       1. The Debtor filed a Chapter 7 Voluntary Bankruptcy Petition on March 8, 2018.

           The case was converted to a Chapter 13 on May 1, 2018. The 341 meeting of

           creditors was held on July 20, 2018. The confirmation hearing is scheduled for

           September 5, 2018.

       2. On August 8, 2018 creditor Coop. A/C San Jose filed a Motion to allow claim

           after claim bar date. Docket 54

       3. This creditor filed claim number 6, secured in the amount of $150.00 and

           unsecured in the amount of $22,712.94.

       4. The debtor does not have any objection that claim number 6 be allowed as

           secured in the amount of $150.00 for shares to be surrendered in this case, and

           unsecured in the amount of $22,712.94.
Case:18-01254-EAG13 Doc#:57 Filed:08/08/18 Entered:08/08/18 16:20:17                     Desc: Main
                           Document Page 2 of 2


       5. The schedules B, D, F and Chapter 13 plan have been amended considering this

           creditors claim.



    WHEREFORE, the Debtor respectfully requests that this creditor’s claim (claim number

    6) be allowed secured in the amount of $150.00, and unsecured in the amount of

    $22,712.94.



    I HEREBY CERTIFY: that on this date I electronically filed the above document with the

    Clerk of the court using an CM/ECF System which sends notification of such filing to

    Chapter 13 Trustee and to any creditors if any CM/ECF user. I further certify that I have

    served this notice by depositing true and correct copy thereof in the United States Mail, to

    non user creditors.




                      In Mayaguez, Puerto Rico, this 8th day of August 2018.



                                                      /s/ LCDA GLORIA M. JUSTINIANO
                                                                         USDC- PR - 207603
                                                                        Ensanchez Martínez
                                                                  Calle A. Ramírez Silva # 8
                                                                 Mayagüez, PR 00680-4714
                                                                (787) 831-3577 & 805-2945
                                                           Email: justinianolaw@gmail.com
